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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                              ORDER
                            Plaintiff,
                                                              08-cr-87-bbc
              v.

PRINCE P. BECK,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       The order entered in this case on March 10, 2009, prohibiting defendant from

making any telephone calls from the jail to anyone other than his lawyer is VACATED. The

need for the order no longer exists.

       Entered this 17th day of March, 2009.

                                         BY THE COURT:
                                         /s/
                                         BARBARA B. CRABB
                                         District Judge




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